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                 EXHIBIT C
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                                                                        Michael Krouse
                                                                        +1 212.836.7750 Direct
                                                                        Michael.Krouse@arnoldporter.com




                                                      April 5, 2023


     VIA EMAIL

     William R. Martin
     Barnes & Thornburg
     555 12th Street, N.W., Suite 1200
     Washington DC 20004
     billy.martin@btlaw.com

     Re: James Velissaris

     Dear Billy:

              I am writing in response to your letter of April 4, 2023, requesting information
     about whether I sought employment with any of the enforcement agencies responsible for
     the actions against Mr. Velissaris. In particular, your letter states that James “informed
     [Barnes & Thornburg] that in early December, 2022, you and the other members of your
     trial team told him that you had applied, or were applying for, a position with a federal
     enforcement agency.” You added that James “does not remember which agency you
     mentioned.”

             His recollection is correct to a certain extent. On January 17, 2023, I sent the
     attached email to James arranging for a call that afternoon. When he asked for the topics,
     I explained:

             Two main topics: First, we want to give you an update on our phone call
             with the AUSAs on Friday . . . . Second, I wanted to let you know that I’m
             interviewing this Thursday for enforcement director of the
             CFTC. Obviously, our attorney-client privilege and confidentiality still
             applies - the CFTC isn’t going to ask me any confidential information about
             your case, I wouldn’t answer if they did. But I wanted to let you know that
             this was happening before I went in for the interview. Happy to discuss or
             answer any questions when we speak at 4:30.

             As scheduled, Veronica Callahan, Kate Reilly and I spoke with James over Zoom
     at 4:30. I answered his questions about the process and confirmed that he had no

Arnold & Porter Kaye Scholer LLP
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William R. Martin
April 5, 2023
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objection to my continuing in the process; he concluded that portion of the call by
wishing me luck. He never followed up with any additional questions or concerns, and I
was not ultimately selected for the position.

        Moreover, our firm’s interaction with the CFTC has been quite limited. As you
know, that agency’s civil action – CFTC v. Velissaris, No. 22 Civ. 1347 (VSB) – has
been stayed since March 28, 2022, and we have had minimal contact with the CFTC
since that date. I, personally, have never spoken with the CFTC regarding its case, and I
have not participated in any material way with Arnold & Porter’s work on it. In addition,
as you are aware, there was no discovery material from the CFTC, and that agency
appears to have had virtually no involvement in the criminal prosecution.

        Please let us know if you have any additional questions.


                                             Very truly yours,



                                             Michael Kim Krouse


Cc:     Paul J. Fishman
        Veronica Callahan
        Kathleen Reilly

Attachment
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From:                                  Krouse, Michael <Michael.Krouse@arnoldporter.com>
Sent:                                  Tuesday, January 17, 2023 3:12 PM
To:                                    James Velissaris
Cc:                                    Callahan, Veronica E.; Fishman, Paul J.; Reilly, Kathleen A.
Subject:                               RE: Phone call today


Great.
                                                                                             I wanted to let you know that
I’m interviewing this Thursday for enforcement director of the CFTC. Obviously, our attorney‐client privilege and
confidentiality still applies ‐ the CFTC isn’t going to ask me any confidential information about your case, I wouldn’t
answer if they did. But I wanted to let you know that this was happening before I went in for the interview. Happy to
discuss or answer any questions when we speak at 4:30.

Mike

_________________
Michael Kim Krouse
Partner | Bio



250 West 55th Street
New York, NY 10019‐9710
T: +1 212.836.7750
Michael.Krouse@arnoldporter.com
www.arnoldporter.com | LinkedIn | Twitter


From: James Velissaris <james.velissaris@gmail.com>
Sent: Tuesday, January 17, 2023 2:48 PM
To: Krouse, Michael <Michael.Krouse@arnoldporter.com>
Cc: Callahan, Veronica E. <Veronica.Callahan@arnoldporter.com>; Fishman, Paul J. <Paul.Fishman@arnoldporter.com>;
Reilly, Kathleen A. <Kathleen.Reilly@arnoldporter.com>
Subject: Re: Phone call today

 External E‐mail

Yes, 4:30 pm works well. Can you share the items to be discussed?

Thanks,
James



          On Jan 17, 2023, at 12:03 PM, Krouse, Michael <Michael.Krouse@arnoldporter.com> wrote:


          James,

          Are you available today at 4:30pm or 5pm to catch up on a few topics? If so, I’ll send an invite.

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Mike

_________________
Michael Kim Krouse
Partner | Bio



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___________________________________________
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